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                                                                                                UNITED STATES DISTRICT COURT
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                                                                                               NORTHERN DISTRICT OF CALIFORNIA
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                                                                       UNITED STATES OF AMERICA,                  Case No. CR 18-00240 CRB
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                                                                                  Plaintiff,                      CARLOS LUNA RODRIGUEZ’S
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                                                                  11                                              SENTENCING MEMORANDUM AND
                                                                            v.                                    REQUEST FOR DOWNWARD
                                                                  12
                                      OAKLAND, CALIFORNIA 94607




                                                                                                                  VARIANCE UNDER 18 U.S.C. § 3553(a)
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                                                                       CARLOS LUNA RODRIGUEZ,
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LAW OFFICES




                                                                                  Defendant.                      Date: March 15, 2019
                                                                  14                                              Time: 11:00 a.m.
                                                                                                                  Judge: Hon. Charles Breyer
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                                                                   1                                  SENTENCING MEMORANDUM
                                                                   2          The Defendant Carlos Luna Rodriguez, through his counsel, Julia M. Jayne, hereby
                                                                   3 submits the following Sentencing Memorandum in support of his request for a sentence of one
                                                                   4 year and one day of custody time.
                                                                   5                                          INTRODUCTION
                                                                   6          Born in Mexicali, Baja California, Carlos Luna Rodriguez is a twenty-three-year-old father
                                                                   7 of three. He has spent the last several years working as a professional truck driver. In April 2018,
                                                                   8 Carlos reluctantly and unwittingly agreed to help his mother’s husband, Bernardo Leyva Olivas,
                                                                   9 on a long-haul commercial truck drive because Mr. Olivas’ license was suspended and his job
                                                                  10 depended on the delivery of food being completed. Carlos was reluctant because he had his own
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                                                                  11 truck-driving job and responsibilities and the journey would take him away from his family for
                                                                  12 several days. After numerous requests from his mother to help her husband complete the journey,
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                                                                  13 Carlos relented and agreed to help out his family. Specifically, his stepfather, Mr. Olivas asked
LAW OFFICES




                                                                  14 Carlos to drive a commercial truck to deliver fruit, vegetables and sandwiches on a route
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                                                                  15 stretching from California to Washington. After getting permission from KTR Logistics Mexicali
                                                                  16 Trucking Company, his employer, Carlos embarked on the trip.
                                                                  17          It was during the trip that Carlos learned that about the contraband. This discovery put
                                                                  18 Carlos in a precarious position: he could exit the truck and try to get home without money,
                                                                  19 transportation, or the ability to speak English, or he could finish the delivery and get back home to
                                                                  20 his heavily pregnant wife. He decided to finish the delivery.
                                                                  21          However, Carlos did not return home to his pregnant wife. Instead, the truck was stopped
                                                                  22 and searched, the drugs discovered by law enforcement, and Carlos has sat in jail since April 26,
                                                                  23 2018. His son, Tadeo, was born while he was in custody.
                                                                  24          Carlos Luna Rodriguez does not seek to avoid responsibility for his actions. Rather, this

                                                                  25 memorandum is submitted to provide context for the Court’s consideration of an appropriate
                                                                  26 sentence. In selecting that sentence, Mr. Rodriguez respectfully asks this Court to take into

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                                                                   1 account his extremely limited role, his lack of advance knowledge, and his nonexistent criminal
                                                                   2 history.
                                                                   3                                    PROCEDURAL BACKGROUND
                                                                   4           On April 26, 2018, Mr. Olivas and Mr. Rodriguez were arrested in the state of
                                                                   5 Washington, and Mr. Rodriguez was later transferred to the Northern District of California. When
                                                                   6 Mr. Rodriguez appears before the court on March 15, 2019, he will have been in jail for 323 days.
                                                                   7           On June 5, 2018, a single-count indictment was filed, charging Mr. Rodriguez and Mr.
                                                                   8 Olivas, with violations of 21 U.S.C. § 846, and 21 U.S.C. §§ 841(a)(1), (b)(1)(A), conspiracy to
                                                                   9 distribute and possess with intent to distribute 500 grams or more of a mixture and substance
                                                                  10 containing methamphetamine. On November 16, 2018, a single-count superseding information
                                                                  11 was filed, alleging violations of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A)(viii), possession with intent
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                                                                  12 to distribute methamphetamine. On December 19, 2018, Mr. Rodriguez pled guilty to a single
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                                                                  13 count of possession with intent to distribute. This amended charge was more appropriate given
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                                                                  14 that Mr. Rodriguez was not aware of or involved in a criminal conspiracy.
                                                                  15           On March 15, 2019, Mr. Rodriguez will stand before this court for sentencing. When he
                                      TH




                                                                  16 does, it will be as a young man in a foreign country. According to the United States Sentencing
                                                                  17 Commission (U.S.S.C.) guidelines, Mr. Rodriguez’s base offense level is 321. Applying the
                                                                  18 various guideline adjustments to Mr. Rodriguez’s base offense level, his adjusted offense level is
                                                                  19 21, which carries a guidelines sentence of 37-46 months. This base offense level does not reflect
                                                                  20 any section 3553(a) factors.
                                                                  21           The U.S. Probation Officer recommends a sentence of 46 months. This recommendation
                                                                  22 reflects Mr. Rodriguez’s lack of criminal record, but does not adequately reflect consideration of
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                                                                      This level is in dispute, as discussed below. His plea agreement included a base offense level range of
                                                                  26 Level 32-38.

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                                                                   1 the collateral consequences resulting from his arrest, incarceration, conviction and his extremely
                                                                   2 limited involvement in the offense. As discussed below, Mr. Rodriguez is respectfully submitting
                                                                   3 to the Court a sentence of one year, or credit for time served. He will have been incarcerated for
                                                                   4 323 days by the time of sentencing. This sentence would fulfill 18 § U.S.C. 3553(a)’s objectives
                                                                   5 because it is sufficient but not greater than necessary to achieve the Guidelines’ sentencing goals.
                                                                   6                                             DISCUSSION
                                                                   7 I.       FACTUAL BACKGROUND AND HISTORY
                                                                   8          A. Personal History
                                                                   9                  1.     Family
                                                                  10          Carlos Luna Rodriguez was born in Baja California, Mexicali, to Carlos Luna Sandoval
                                                                  11 and Clara Rodriguez-Salazar, where he has lived his entire life and intends to live in the future.
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                                                                  12 Carlos says that he grew up in a stable home, but also acknowledges financial difficulties and his
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                                                                  13 mother’s regular alcohol use, especially in the years leading up to his parents’ divorce at age 10.
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                                                                  14 PSR ¶ 40. When his parents divorced, Carlos’s responsibilities increased; he watched his sister,
                                                                  15 Evelyn, while his mother worked, and in high school, he began working in his mother’s store. PSR
                                      TH




                                                                  16 ¶ 42. After the divorce, Carlos saw his father once a week and he continues to have an active and
                                                                  17 positive relationship with his father, who also resides in Mexicali. PSR ¶ 40.
                                                                  18          When he was seventeen, Carlos’s girlfriend, Margarita Franco Chavez, became pregnant
                                                                  19 with their first child, Carlos Luna Franco. PSR ¶ 45. Carlos and Margarita moved in together, and
                                                                  20 Carlos began working full-time. While Carlos and Margarita are no longer in a romantic
                                                                  21 relationship, their relationship is friendly and supportive. Their 5-year-old son lives with
                                                                  22 Margarita in Mexicali, and Carlos provides regular support, eager to avoid the financial troubles
                                                                  23 that plagued his early life. PSR ¶ 45.
                                                                  24          Three years ago, Carlos started dating Lucero, a 21-year-old factory worker. Eventually,

                                                                  25 Lucero became pregnant with Miriam, their now 2-year-old daughter. PSR ¶ 44. In 2017, Lucero
                                                                  26 and Carlos realized they were pregnant and this time, they were expecting a boy. Because of his

                                                                  27 arrest and subsequent incarceration, Carlos missed the birth of their child, has never met his son,
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                                                                   1 and, most painfully, has not seen his wife or any of his children (who are all in Mexico) for the
                                                                   2 past year.
                                                                   3          Despite his youth, Carlos is a committed family man, priding himself on his dedication to
                                                                   4 Lucero and their children. In many ways, this is a result of his upbringing: he understood the
                                                                   5 importance of earning a legitimate living, working hard, supporting his family, and taking care of
                                                                   6 his responsibilities. While he may have struggled financially at times in his youth, he always had
                                                                   7 enough to eat and a roof over his head. He has sought to provide the same for his own family.
                                                                   8          While jail is difficult for anyone, Carlos’s struggles are particularly pronounced. Because
                                                                   9 he has never been so much as arrested, he is not familiar with the rigors of incarceration. His
                                                                  10 difficulties are further amplified by his inability to speak English: he cannot speak to most of his
                                                                  11 cellmates, understand the guards, or participate in programming. Of course, he also knows that
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                                                                  12 Lucero struggles with the financial consequences of his incarceration. Despite recently giving
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                                                                  13 birth, she continues to work in a factory, desperately trying to earn enough to support both herself
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                                                                  14 and their two children. Because of the financial difficulties, she had to give up their family home
                                                                  15 and move in with her mother in Mexicali. Every day, his family struggles in his absence.
                                      TH




                                                                  16          Given Carlos’s unfortunate decision not to exit the truck when he learned about the drugs
                                                                  17 and his otherwise law-abiding life, a sentence that would allow him to return home to his family as
                                                                  18 soon as possible is the most just and appropriate. He has expressed his remorse, his struggles, and
                                                                  19 his hope for the future in a letter to this Court, attached as Exhibit B. See Declaration of Julia M.
                                                                  20 Jayne (“Jayne Decl.”), Exh. B (with translation).
                                                                  21                  2.     Employment History
                                                                  22          Carlos began working full-time at age 17. As a result, he has a ninth-grade education. PSR
                                                                  23 ¶ 50. Knowing that his education significantly limited his economic opportunities, Carlos decided
                                                                  24 to get his commercial trucking license. After completing a rigorous yearlong program, Carlos was

                                                                  25 hired as a truck driver in 2016. To date, he has been employed by three different reputable
                                                                  26 Mexican trucking companies. PSR ¶ 51. During the time of this offense, Carlos worked as a driver

                                                                  27 for KTR Logistics Mexicali Trucking Company (KTR). Before KTR, he drove for In Transit
                                                                  28                                                     4                      Case No. CR 18-00240 CRB
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                                                                   1 Express and B&B Transport. As a driver, Carlos made numerous legal trips to and from the
                                                                   2 United States, but his home was and continues to be in Mexico.
                                                                   3          At the time of this offense, Carlos was on assignment for Martinez Trucking, the company
                                                                   4 who employed Mr. Olivas. Before agreeing to assist his stepfather on the delivery, Carlos made
                                                                   5 sure to get KTR’s permission. Carlos explained that he would accompany his stepfather because
                                                                   6 his stepfather’s driver’s license was suspended, which meant that Mr. Olivas risked losing his job.
                                                                   7 To ensure that his stepfather would keep his job, Carlos agreed to drive the shipment of fruit,
                                                                   8 vegetables and sandwiches from California to Washington. At the time, Carlos thought the
                                                                   9 delivery was completely legitimate because the co-defendant said he’d be paid $1,500 by Martinez
                                                                  10 Trucking, which is industry standard. Carlos was also under the belief that his commercial license
                                                                  11 and permit to lawfully enter the U.S. allowed him to drive whatever distance the employer
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                                                                  12 authorized. Carlos also discussed the legitimate delivery with the owner of Martinez Trucking. It
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                                                                  13 was only during the trip that he learned he’d been deceived. Carlos was never paid for driving.
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                                                                  14                 3.      Personal Relationships and Character
                                                                  15          Carlos is a devoted family man, known in his neighborhood for his love of soccer and
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                                                                  16 boxing. PSR ¶ 41. Even as a teenager, Carlos was committed to others. Before leaving school to
                                                                  17 work full-time, Carlos volunteered for the Red Cross. PSR ¶ 42. The letters from his family further
                                                                  18 describe with sincerity a young man who has tremendous family support, who was raised with
                                                                  19 good morals and respect for the law, who has never been in trouble in Mexico, and who is
                                                                  20 intelligent, hard-working and who will only become wiser through this ordeal. See Jayne Decl.
                                                                  21 Exhibit A (letters).
                                                                  22          B. The Offense Conduct
                                                                  23          In explaining what occurred, Carlos is not denying responsibility. At the same time, he
                                                                  24 wants the Court to understand that the offense occurred because of an exceedingly difficult

                                                                  25 situation, one with two seemingly disastrous outcomes. His Hobson’s choice landed him in
                                                                  26 custody facing sentencing for a federal drug offense.

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                                                                   1           There should be no dispute before this Court of Carlos’s lack of advance knowledge of the
                                                                   2 drugs – upon embarking on the journey, he had no idea it would entail a drug delivery. Had he
                                                                   3 known in advance, he would have never risked his life and livelihood and would never have gotten
                                                                   4 behind the wheel of that truck. There can be no doubt that Carlos is not involved in the drug trade,
                                                                   5 does not know where the drugs came from, does not know who was involved in the conspiracy,
                                                                   6 and did not even know the quality and quantity of the drugs. PSR ¶ 14. He had never seen fentanyl
                                                                   7 or methamphetamine before. Carlos’s only knowledge came from his unexpected discovery of
                                                                   8 packaged narcotics when he climbed into the berth of the truck to take a nap.
                                                                   9           In that moment, he realized he had two options: he could refuse to go any further by
                                                                  10 jumping out of the truck, which meant trying to get back to Mexico without transportation,
                                                                  11 sufficient funds, or the ability to speak English . . . or he could continue driving. He rationalized
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                                                                  12 that if he completed the delivery, he would be able to drive back to Mexico. When he weighed his
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                                                                  13 options, he decided to complete the drive. He understood that being in possession of all those
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                                                                  14 drugs was illegal (and thus agreed to plead guilty to such) but he also knew that he would very
                                                                  15 likely get hurt or killed if he tried to return to Mexico on foot.2
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                                                                  16           Once again, Carlos believed that the delivery was for a variety of perishable food items,
                                                                  17 and he would be paid $1,500 for driving the truck. Because $1,500 is industry standard for this
                                                                  18 type of delivery, Carlos didn’t suspect anything amiss. After all, he wasn’t to be paid more than
                                                                  19 normal, and he didn’t think his stepfather would purposefully put him and his family at risk.
                                                                  20           Yet Carlos freely admits that he should have chosen to walk back to Mexico if that’s what
                                                                  21 it took. He appreciates that his actions were wrong and he has been punished for the past year for
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                                                                       Carlos was so astounded to find the drugs that he foolishly took photos of the drugs and text them to his
                                                                     wife. She replied in equal surprise, hoping he would be ok. Anyone with any sophistication in the drug
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                                                                     trade would know never to do such a thing. The photos only demonstrate his naivety, his lack of knowledge
                                                                  26 and his own astonishment at his “discovery” in the truck.

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                                                                   1 his conduct. In addition to being incarcerated for the past year, he missed the birth of his son and
                                                                   2 has not been able to hold his children or support his family. What he and his family have suffered
                                                                   3 should serve as sufficient retribution, deterrence and rehabilitation for his offense.
                                                                   4 II.       OBJECTIONS TO PRESENTENCE REPORT
                                                                   5 Paragraphs 4, 19-28: Guidelines Calculation
                                                                   6           Pursuant to both the United States Sentencing Guidelines (USSG) § 2D1.1 and his plea
                                                                   7 agreement, the base offense level for Mr. Rodriguez should be 32, contrary to the Probation
                                                                   8 Officer’s calculation of a base offense level of 38. Mr. Rodriguez is also eligible for several
                                                                   9 reductions, as further detailed below.
                                                                  10           A. Base Offense Level: U.S.S.G. § 2D1.1(a)(5)
                                                                  11           Mr. Rodriguez’ plea agreement sets forth a range for the applicable base offense level. The
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                                                                  12 range is from Level 32 to 38. A range, rather than a given number, was specifically included due
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                                                                  13 to the legitimate arguments supporting a level within that range. For following reasons, Mr.
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                                                                  14 Rodriguez submits to this Court that the most relevant and applicable starting point is a base
                                                                  15 offense level of 32:
                                      TH




                                                                  16              •   Pursuant to § 2D1.1(a)(5) and Paragraph 7(a) of his plea agreement: “If the
                                                                  17                  resulting offense level is greater than level 32 and the defendant receives the 4-
                                                                                      level (‘minimal participant’) reduction in §3B1.2(a), decrease to level 32.”
                                                                  18
                                                                                  •   Mr. Rodriguez fits the minimal participant definition to the word. He qualifies to
                                                                  19                  receive the 4-level minimal participant reduction. As a result, the base offense level
                                                                                      must be 32.
                                                                  20
                                                                  21           If this Court finds that Mr. Rodriguez is entitled to the 4-point minimal role reduction, then
                                                                  22 his base offense level automatically drops to Level 32. See U.S.S.G. § 2D1.1(a)(5). That is not in
                                                                  23 dispute. What is disputed between the parties is what degree of role reduction Mr. Rodriguez
                                                                  24 should receive. For the reasons described below, Mr. Rodriguez’s extremely limited involvement

                                                                  25 demands a finding of “minimal participant.”
                                                                  26

                                                                  27
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                                                                   1          B. The Court Should Apply U.S.S.G.§ 3B1.2 for a 4-Point Role Reduction
                                                                   2          Pursuant to § 3B1.2, Mr. Rodriguez is a minimal participant warranting a 4-point role
                                                                   3 reduction. A “minimal participant” is someone who plays a “minimal role in the criminal
                                                                   4 activity.” Id. This provision covers defendants who are plainly among the least culpable of those
                                                                   5 involved in a group’s conduct. U.S.S.G. § 3B1.2, n. 4, 6. Further, “the defendant’s lack of
                                                                   6 knowledge or understanding of the scope and structure of the enterprise and of the activities of
                                                                   7 others is indicative of a role as minimal participant.” Id. See United States v. Dorvil, 784 F. Supp.
                                                                   8 849, 851-52 (S.D. Fla. 1991) (Court finding that defendants were minimal participants because
                                                                   9 they had no understanding of the “scope of structure of the enterprise,” were merely offloading the
                                                                  10 drug delivery, did not learn about the cocaine until they arrived in Miami, they had no proprietary
                                                                  11 interest in the cocaine, and, unlike others, their cooperation was not critical to its success).
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                                                                  12          Mr. Rodriguez, like the defendants in Dorvil, fits squarely into the “minimal participant”
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                                                                  13 definition. As described in his plea agreement, Mr. Rodriguez did not know about his stepfather’s
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                                                                  14 plans, did not know that he was being asked to drive a truck full of drugs, and he did not learn that
                                                                  15 drugs had been loaded onto the truck until he was already on the journey to Washington. He does
                                      TH




                                                                  16 not know anything about where the drugs came from or who was in charge. That he took photos
                                                                  17 after making his discovery does not elevate his role in any way: it only corroborates his surprise
                                                                  18 and naivety.
                                                                  19          The use notes further explain that in the fact-based determination of whether someone is a
                                                                  20 “minimal participant,” the court is to consider the defendant’s understanding of the scope and
                                                                  21 structure of the criminal activity, his participation in planning and organizing, his decision-making
                                                                  22 authority, his responsibility and discretion, and the degree to which he stood to benefit. Id. at n. 3.
                                                                  23                  1.       Understanding of the Scope and Structure of Criminal Activity
                                                                  24          When Mr. Rodriguez agreed to drive the truck, he believed that he was agreeing to a

                                                                  25 legitimate job. To this day, he does not know anything about the “scope or structure” of who was
                                                                  26 the owner of the drugs, who organized the transport, or who stood to benefit. All he is aware of his

                                                                  27 that his stepfather was the one who asked him to drive because of his own suspended license.
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                                                                   1                  2.     Defendant’s Participation in Planning and Organizing
                                                                   2          Another factor for the Court to consider, according to the use notes, is the degree of the
                                                                   3 defendant’s participation in planning and organizing. This answer is easy: none. Mr. Rodriguez
                                                                   4 planned and organized nothing.
                                                                   5                  3.     Defendant’s Decision-Making Authority
                                                                   6          Yet again, Mr. Rodriguez held no decision-making authority. Had he been advised of the
                                                                   7 real purpose of the journey, he would have immediately declined.
                                                                   8                  4.     Defendant’s Responsibility and Discretion
                                                                   9          The only discretion undertaken by Mr. Rodriguez was whether to jump out of the truck or
                                                                  10 continue with the drive upon his discovery of the drugs. He exercised that self-discretion.
                                                                  11 However, with respect to the conspiracy alleged against his co-defendant, he exercised zero
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                                                                  12 responsibility and discretion, which is what the role analysis refers to.
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                                                                  13                  5.     Degree to Which Defendant Stood to Benefit
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                                                                  14          Mr. Rodriguez stood to benefit nothing. He was to be paid (upon completion of the food
                                                                  15 delivery) only for the legitimate employment of driving a truck full of perishable items. Once
                                      TH




                                                                  16 again, this factor points to the clear conclusion that Mr. Rodriguez was a minimal participant.
                                                                  17          Ultimately, Mr. Rodriguez’s culpability is confined to continuing to drive the truck after
                                                                  18 discovering illegal narcotics. While this was a poor decision, it is also an understandably human
                                                                  19 one and one that merits the 4-point minimal participant role reduction.
                                                                  20          C. The Court Should Apply a 2-Level Minimal Participation Reduction on the Basis
                                                                                 of U.S.S.G.§ 2D1.1(b)(16)
                                                                  21
                                                                              Pursuant to § 2D1.1(a)(5) and Mr. Rodriguez’s plea agreement,
                                                                  22
                                                                  23          If the defendant receives a 4-level (‘minimal participant’) reduction in § 3B1.2(a) and the
                                                                              offense involved all of the following factors:
                                                                  24
                                                                                      (A) The defendant was motivated by a… familial relationship … and was
                                                                  25                      otherwise unlikely to commit such an offense;
                                                                  26
                                                                                      (B) The defendant received no monetary compensation from the illegal … transport
                                                                  27                  or storage of the controlled substances; and

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                                                                                     (C) The defendant had minimal knowledge of the scope and structure of the
                                                                   1                 enterprise,
                                                                   2          Decrease by 2 levels. Id.
                                                                   3          Mr. Rodriguez satisfies the requirements outlined above. He agreed to drive the truck
                                                                   4 because his stepfather and mother pressured him to help out when Mr. Olivas’ license was
                                                                   5 suspended. This pressure from his family caused him to agree to a lawful journey and then caused
                                                                   6 him to continue driving and not abandon his stepfather when he learned about the drugs. Further,
                                                                   7 he was not going to be paid for any illegal activity and he did not know the scope and structure of
                                                                   8 the enterprise whatsoever. Because Mr. Rodriguez is a minimal participant who clearly satisfies
                                                                   9 the factors outlined above, a reduction of 2 points based on § 2D1.1(b)(16) is appropriate.
                                                                  10          D. Total Offense Level is 21
                                                                  11
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                                                                              Taking into account all of the clearly-applicable reductions noted above and in his plea
                                                                  12 agreement, the proper calculation should be as follows:
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                                                                  14          Base Offense Level                                   32
                                                                              Role Reduction (minimal participant)                 -4
                                                                  15          Minimal Participation Reduction                      -2
                                      TH




                                                                              Safety Valve                                         -2
                                                                  16          Acceptance of Responsibility                         -3
                                                                  17
                                                                              Adjusted Offense Level                               21
                                                                  18
                                                                  19 III.     THE APPLICABLE GUIDELINE RANGE IS THE “STARTING POINT” AND
                                                                              “INITIAL BENCHMARK” FOR THIS COURT
                                                                  20
                                                                              A. Gall and Kimbrough Clarified the Vast Discretion of this Court to Impose a
                                                                  21             Below-Guidelines Sentence

                                                                  22          In Gall v. United States, 128 S. Ct. 586, 598 (2007) and Kimbrough v. United States, 128

                                                                  23 S.Ct. 558 (2007), the Supreme Court set forth the proper analysis that district courts should follow
                                                                  24 in evaluating a sentence in the wake of United States v. Booker, 543 U.S. 220 (2005):

                                                                  25          A district court should begin all sentencing proceedings by correctly calculating the
                                                                              applicable Guideline range. As a matter of administration and to secure nationwide
                                                                  26          consistency, the Guidelines should be the starting point and the initial benchmark. The
                                                                              Guidelines are not the only consideration… after giving both parties an opportunity to
                                                                  27          argue for whatever sentence they deem appropriate, the district judge should then consider
                                                                              all of the § 3553 (a) factors to determine whether they support the sentence requested by a
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                                                                              party. In doing so, he may not presume that the Guideline range is reasonable. He must
                                                                   1          make an individualized assessment based on all the facts presented.
                                                                   2 Gall, 128 S.Ct. at 596-97 (citations omitted).
                                                                   3          Moreover, the Court is free to disagree with the Guideline ranges and policy
                                                                   4 considerations. See Kimbrough v. United States, 128 S.Ct. at 558. “It has been uniform and
                                                                   5 consistent in the federal judicial tradition for the sentencing judge to consider every convicted
                                                                   6 person as an individual and every case as a unique study in the human failings that sometimes
                                                                   7 mitigate, sometimes magnify, the crime and the punishment to ensue.” Id. at 598 (citing Koon v.
                                                                   8 United States, 518 U.S. 81, 113 (1996)). After Gall it is clear that federal district courts possess
                                                                   9 great discretion on a case-by-case basis in handing down a sentence.
                                                                  10          In this case, Mr. Rodriguez is asking this Court to not take a rigid and deferential approach
                                                                  11 to the advisory guideline range, but rather to depart downward to a more appropriate sentence of
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                                                                  12 one year and one day or effectively, credit for time served. While this sentence is below the
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                                                                  13 numbers-driven guidelines, Mr. Rodriguez hopes that the Court realizes that it is not only
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                                                                  14 appropriate, but due to the collateral consequences and his minimal involvement, already
                                                                  15 excessively punitive. See United States v. Whitehead, 532 F.3d 991 (9th Cir. 2008) (no abuse of
                                      TH




                                                                  16 discretion in district court departing from a guideline range of 41-51 months to a sentence of
                                                                  17 probation and community service; court considered collateral consequences and defendant’s
                                                                  18 repentance).
                                                                  19          B. The Ninth Circuit Has Declined to Apply a Presumption of Reasonableness to a
                                                                                 Guidelines Sentence
                                                                  20
                                                                              In United States v. Carty, 520 F.3d 984 (9th Cir. 2008) (en banc), the Ninth Circuit
                                                                  21
                                                                       indicated that “the district court may not presume that the Guideline range is reasonable… nor
                                                                  22
                                                                       should the Guidelines factor be given more or less weight than any other.” Id. at 991 (citations
                                                                  23
                                                                       omitted). “While the Guidelines are to be respectfully considered, they are one factor among the §
                                                                  24
                                                                       3553(a) factors … to be taken into account in arriving at an appropriate sentence.” Id., citing
                                                                  25
                                                                       Kimbrough, 129 S.Ct. at 570; Gall, 128 S.Ct. at 594. An appellate court will only review the
                                                                  26
                                                                       substantive reasonableness of the district court’s decision by considering the “totality of the
                                                                  27
                                                                       circumstances,” giving “due deference to the district court’s decision that the § 3553(a) factors, on
                                                                  28                                                   11                           Case No. CR 18-00240 CRB
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                                                                   1 a whole, justify the … variance.” Id. While this Court must consider the applicable range, this
                                                                   2 range is not presumptively the correct sentence. Instead, the Court must consider Mr. Rodriguez as
                                                                   3 an individual entitled to the consideration of the § 3553(a) factors and the Court will be granted
                                                                   4 “due deference” should appellate review ensue.
                                                                   5          Moreover, the Court can consider specific characteristics of individual defendants, which
                                                                   6 they were previously prohibited or discouraged from considering. See Rita v. United States, 551
                                                                   7 U.S. 338, 364-365 (2007) (Stevens, J., concurring) (“Matters such as age, education, mental, or
                                                                   8 emotional condition, medical condition, employment history, lack of guidance as a youth, family
                                                                   9 ties, or military, civic, charitable, or public service are not ordinarily considered under the
                                                                  10 guidelines . . . These are, however, matters that section 3553(a) authorizes a sentencing judge to
                                                                  11 consider”); United States v. Lazenby 439 F.3d 928, 933 (8th Cir. 2006) (“the other factors cited by
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                                                                  12 the district court, though discouraged or prohibited departure factors under the mandatory
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                                                                  13 guidelines, may be considered in applying the section 3553(a) factors under Booker”).
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                                                                  14          In this case, the following factors, among others described below, warrant a variance from
                                                                  15 the advisory guidelines:
                                      TH




                                                                  16      •   Prison has greater significance for those imprisoned for the first time. United States v.
                                                                              Paul, 239 F. Appx 353 (9th Cir. 2007).
                                                                  17
                                                                          •   Defendant’s otherwise outstanding character. United States v. Wachowiak, 496 F.3d 744
                                                                  18          (7th Cir. 2007). See Jayne Decl., Exh. A.
                                                                  19      •   Aberrant behavior by the defendant. See Section 5K2.20 of the Guidelines and United
                                                                              States v. Howe, 543 F.3d 128 (3rd Cir. 2008).
                                                                  20
                                                                          •   Defendant’s good deeds and past integrity. United States v. Woods, 159 F.3d 1132 (8th Cir.
                                                                  21          1998).
                                                                  22      •   Defendant’s personal characteristics and the offense were atypical. United States v. Autrey,
                                                                              555 F.3d 864 (9th Cir. 2009).
                                                                  23
                                                                          •   Defendant already punished by collateral consequences such as: public stigmatization, loss
                                                                  24          of any future opportunities in the United States due to being a felon, loss of financial
                                                                              stability, loss of employment opportunities and certain licenses for U.S. trucking
                                                                  25          companies, and inability to support his children and pregnant fiancé during his current
                                                                              period of incarceration.
                                                                  26
                                                                              Given this overall objective, Mr. Rodriguez asks this Court to find that the correct sentence
                                                                  27
                                                                       is one that will adequately punish him, but will not contradict the recognized purposes of
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                                                                   1 sentencing and leave him worse off. Applying the advisory guidelines, the calculation of Mr.
                                                                   2 Rodriguez’s sentence according to the United States Sentence Guidelines (U.S.S.G.) is: 37-46
                                                                   3 months (Level 21), but the appropriate and measured sentence should not exceed one year of
                                                                   4 incarceration.
                                                                   5 IV.     FACTORS RELEVANT TO A SENTENCE THAT IS SUFFICIENT, BUT NOT
                                                                             GREATER THAN NECESSARY
                                                                   6
                                                                              The Court’s duty is to impose a sentence “sufficient but not greater than necessary” to
                                                                   7
                                                                       achieve the four purposes of sentencing listed in 18 U.S.C. § 3553(a)(2). See Carty, 520 F.3d at
                                                                   8
                                                                       991. These four purposes are: retribution; general deterrence; specific deterrence; and
                                                                   9
                                                                       rehabilitation. 18 U.S.C. § 3553(a)(2)(A)-(D). In “determining the particular sentence to be
                                                                  10
                                                                       imposed” the Court must consider these purposes, the nature and circumstances of the offense and
                                                                  11
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                                                                       the history and characteristics of the defendant, the need to avoid unwarranted disparities, and the
                                                                  12
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                                                                       need to provide restitution to any victims of the offense. See 18 U.S.C. § 3553(a)(1)-(7).
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                                                                  14          A. The Nature and Circumstances of the Offense and Mr. Rodriguez’s History and
                                                                                 Characteristics Show that this was Aberrant Conduct
                                                                  15          Before this offense, Mr. Rodriguez was never arrested, imprisoned, or convicted of any
                                      TH




                                                                  16 crime. Further, his role in the present offense was minimal at best – he continued to drive after
                                                                  17 finding drugs in the truck. At 23 years old, his sole criminal conviction is this one. In this case, he
                                                                  18 did not willingly become involved in the offense conduct, nor did he benefit. Further, his
                                                                  19 inducement was a result of a close relationship with his stepfather, a dynamic that will never be
                                                                  20 repeated.
                                                                  21          This Court should grant a variance based on the aberrant nature of his conduct. See, e.g.,
                                                                  22 United States v. Hadash, 408 F.3d 1080, 1084 (8th Cir. 2005) (defendant was a “law abiding
                                                                  23 citizen, who [did] an incredibly dumb thing”); United States v. Davis, 2008 WL 2329290
                                                                  24 (S.D.N.Y. June 5, 2008) (defendant was a first offender who had worked throughout his 15-year

                                                                  25 marriage to educate his six children and whose offense was prompted by economic pressures). Mr.
                                                                  26 Rodriguez’s participation was a marked deviation from a solid employment history and an effort

                                                                  27 to lead a law-abiding life. His criminal history category is Level I.
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                                                                   1          B. Need for Just Punishment in Light of Seriousness of the Offense
                                                                   2          The need for retribution is measured by the degree of “blameworthiness,” which “is
                                                                   3 generally assessed according to … the nature and seriousness of harm caused or threatened by the
                                                                   4 crime; and the offender’s degree of culpability …, in particular, his degree of intent (mens rea),
                                                                   5 motives, (and) roles in the offense....” Richard S. Frase, Excessive Prison Sentences, Punishment
                                                                   6 Goals, and the Eighth Amendment: “Proportionality” Relative to What?, 89 Minn. L. Rev. 571,
                                                                   7 590 (February 2005).
                                                                   8          Mr. Rodriguez has sat in jail since April 26, 2018. And these past 323 days have been
                                                                   9 incredibly traumatic for him. Life in custody is not something he ever expected to have to become
                                                                  10 accustomed to. Further, Carlos has never been inside a courtroom prior this case and thus, the
                                                                  11 entire experience has left him shocked, depressed and clearly feeling betrayed by his stepfather. In
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                                                                  12 addition to the exposure of a lengthy prison term, Mr. Rodriguez faces a myriad of collateral
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                                                                  13 consequences which have and will leave him and his family vulnerable and unstable for years to
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                                                                  14 come. These include loss of job opportunities, loss of reputation in his community and within his
                                                                  15 family, and the recognition that his mistakes have traumatized his family. Given the manifold
                                      TH




                                                                  16 punishments that have already begun, and will continue in waves into the future, ample retribution
                                                                  17 can be imparted without the draconian Guidelines sentence urged by probation and the
                                                                  18 government.
                                                                  19          C. Incarceration Does Little to Further General Deterrence
                                                                  20          Research has consistently shown that while the certainty of being caught and punished has
                                                                  21 a deterrent effect, “increases in severity of punishments do not yield significant (if any) marginal
                                                                  22 deterrent effects.” Michael Tonry, Purposes and Functions of Sentencing, 34 Crime & Just. 1, 28
                                                                  23 (2006). According to “the best available evidence, . . . prisons do not reduce recidivism more than
                                                                  24 noncustodial sanctions.” Francis T. Cullen et al., Prisons Do Not Reduce Recidivism: The High

                                                                  25 Cost of Ignoring Science, 91 Prison J. 48S, 50S-51S (2011). Thus, a custodial sentence has no
                                                                  26 statistical or evidentiary value as having a deterrent effect. Accordingly, research refutes the

                                                                  27 theory that more severe sentences serve as a general deterrent (See U.S. Sent’g Comm’n,
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                                                                   1 Measuring Recidivism: The Criminal History Computation of the Federal Sentencing Guidelines,
                                                                   2 https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
                                                                   3 publications/2004/200405_Recidivism_Criminal_History.pdf at 30.) In Mr. Rodriguez’s case, a
                                                                   4 longer custodial sentence will not have a deterrent effect. The circumstances of this case are
                                                                   5 unique: he agreed to perform a legitimate service and discovered that he was used to transport the
                                                                   6 narcotics after starting the trip. It is not a circumstance this Court sees every day. Most “couriers”
                                                                   7 are being paid to transport contraband and are aware of the purpose of the journey. They are often
                                                                   8 charged with conspiracy as a result. Moreover, there is much publicity throughout the country of
                                                                   9 the prospect of mandatory minimum and heavy sentences for involvement in drug distribution.
                                                                  10 Mr. Rodriguez should not be the poster child for a longer prison term in a drug case so as to send a
                                                                  11 message of general deterrence.
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                                                                  12          Further, first-time offenders are less likely to re-offend while also being more impacted by
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                                                                  13 periods of imprisonment. Before this, Mr. Rodriguez has never been arrested, incarcerated, or
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                                                                  14 convicted of a crime. Therefore, the past year spent in a foreign jail, cut off from his family and
                                                                  15 friends and unable to work, has made an undeniable mark on his psyche.
                                      TH




                                                                  16          D. Incarceration Does Not Further Specific Deterrence - Need to Protect the Public
                                                                  17          Mr. Rodriguez is not a physical danger to the public. After this ordeal and spending nearly
                                                                  18 a year in jail, he does not (nor did he ever) pose a threat of future criminal behavior. The probation
                                                                  19 officer reports that he believes Mr. Rodriguez is not likely to reoffend. Moreover, the
                                                                  20 consequences of longer incarceration are severe. As the Supreme Court freely acknowledged:
                                                                  21 “[p]risons are dangerous places.” Johnson v. California, 543 U.S. 499, 515 (2005). The fact that
                                                                  22 the federal facilities are overcrowded makes them that much more dangerous. By the end of Fiscal
                                                                  23 Year 2013 the BOP prison population “climbed to almost 220,000, its highest level ever with
                                                                  24

                                                                  25
                                                                  26

                                                                  27
                                                                  28                                                    15                      Case No. CR 18-00240 CRB
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                                                                   1 system-wide crowding at 36%.” See U.S. Dep’t of Justice, Federal Prison System FY 2018
                                                                   2 Performance Budget, https://www.justice.gov/file/968981/download at 2. As a result of this
                                                                   3 crowding, 100% of inmates at minimum and low security institutions were double bunked. Id.
                                                                   4           Incarceration also causes psychic harms and has multiple “criminogenic” effects.3 “The
                                                                   5 adaptation to imprisonment is almost always difficult and, at times, creates habits of thinking and
                                                                   6 acting that can be dysfunctional in periods of post-prison adjustment . . . [F]ew people are
                                                                   7 completely unchanged or unscathed by the experience.”4 The psychological consequences of
                                                                   8 imprisonment “may represent significant impediments to post-prison adjustment. They may
                                                                   9 interfere with the transition from prison to home, [and] impede an ex-convict’s successful
                                                                  10 reintegration into a social network and employment setting” Id. Thus, rather than extending Mr.
                                                                  11 Rodriguez’s sentence and further traumatizing him and his family, an appropriate sentence for
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                                                                  12 someone with his culpability is credit-for-time-served. Upon release, he will be able to return to
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                                                                  13 his home in Mexico to work and provide for his family.
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                                                                  14           E. Policy Statements in Favor of Departures
                                                                  15           Pursuant to Section 3553(a)(5), the Court must consider any “pertinent policy statement”
                                      TH




                                                                  16 issued by the Sentencing Commission. The following policy statements warrant a departure from
                                                                  17 the guidelines level:
                                                                  18
                                                                  19
                                                                       3
                                                                  20   See, generally, Martin H. Pritikin, Is Prison Increasing Crime, 2008 Wis L. Rev. 1049, 1054-72
                                                                     (cataloging eighteen criminogenic effects of incarceration); see also U.S.S.C., Staff Discussion Paper,
                                                                  21 Sentencing Options under the Guidelines 19 (1996) (recognizing imprisonment has criminogenic effects
                                                                     including: contact with more serious offenders, disruption of legal employment, and weakening of family
                                                                  22 ties).
                                                                       4
                                                                  23     Craig Haney, The Psychological Impact of Incarceration: Implications for Post-Prison Adjustment 4
                                                                       (2001), http://aspe.hhs.gov/hsp/prison2home02/haney.pdf.
                                                                  24

                                                                  25
                                                                  26

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                                                                   1              (1) U.S.S.G. 5H1.6 – Family Ties and Responsibilities.
                                                                   2          While family ties and responsibilities are not ordinarily relevant in the average case, per
                                                                   3 the Commission, per Application Note 1(B), the Court may consider a departure based on loss of
                                                                   4 caretaking or financial support. In fact, despite this limitation, U.S.S.G. § 5H1.6 is the third most
                                                                   5 common reason given by courts to justify a departure from the guideline range. See Table 25 of
                                                                   6 the U.S.S.C. Interactive Sourcebook of Federal Sentencing Statistics at
                                                                   7 https://isb.ussc.gov/api/repos/:USSC:table_xx.xcdf/generatedContent?table_num=Table25. In this
                                                                   8 case, a sentence within the guideline range – or any longer custodial sentence – will “cause a
                                                                   9 substantial, direct, and specific loss of essential caretaking, or essential financial support, to the
                                                                  10 defendant’s family.” Id.
                                                                  11          The Court can consider whether the loss of financial support exceeds the harm ordinarily
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                                                                  12 incident to incarceration for a similarly situated defendant. § 5H1.6 App. Note 1(B)(ii) (iii). Mr.
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                                                                  13 Rodriguez’s family obligations are one of those unique harms not ordinary to an incarcerated
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                                                                  14 defendant because he was the sole breadwinner for his family in a country already plagued by
                                                                  15 poverty. He specifically set out to ensure his family would not live in poverty by getting his
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                                                                  16 commercial license and successfully landing several jobs with reputable trucking companies. This
                                                                  17 accomplishment in Mexico, given the lack of opportunities there, merits recognition. Thus, in his
                                                                  18 continued absence, his family faces more risk and impoverishment. His physical presence and
                                                                  19 ability to contribute to his children and wife is irreplaceable.
                                                                  20              (2) U.S.S.G. 5K2.0 – Other Grounds for Departure
                                                                  21          Mr. Rodriguez respectfully contends that several factors support a departure from the
                                                                  22 Sentencing Guidelines per U.S.S.G. § 5K2.0. The factors noted in point (1) above takes this case
                                                                  23 out of the heartland. While Mr. Rodriguez’s conduct was wrong, he did not plan or coordinate the
                                                                  24 offense.

                                                                  25                                             CONCLUSION
                                                                  26          The Probation Department and the Government would be hard-pressed to argue that a one-

                                                                  27 year custodial sentence would fail to correct Mr. Rodriguez’s behavior. He has never been to jail
                                                                  28                                                     17                       Case No. CR 18-00240 CRB
                                                                                                                                          DEFENDANT’S SENTENCING MEMO
                                                                         Case 3:18-cr-00240-CRB Document 40 Filed 03/08/19 Page 23 of 23




                                                                   1 or prison previously, has no prior convictions, has a supportive family and community,
                                                                   2 employment skills, and a strong desire to work hard and make the most of his life in spite of the
                                                                   3 conviction. The sentence proposed herein – not insignificant for someone like Mr. Rodriguez – is
                                                                   4 a pragmatic sentence that will serve the interests of deterrence, retribution and rehabilitation.
                                                                   5 Moreover, the end result is that Mr. Rodriguez will forever face the consequences of this
                                                                   6 conviction.
                                                                   7          Any lengthier custodial term recommended by the Government would conflict with the
                                                                   8 goals articulated in the sentencing statute designed to ensure than an offender successfully
                                                                   9 rehabilitates and re-joins society as a fully functional and law-abiding citizen. Mr. Rodriguez has
                                                                  10 attempted to articulate to this Court his remorse, sorrow, and responsibility for the offense. Going
                                                                  11 forward, he will never blindly trust others, and in the event that he discovers criminal conduct, he
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                                                                  12 will remove himself from the situation immediately.
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                                                                  13          As such, the defense respectfully requests that the court sentence Mr. Rodriguez to a
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                                                                  14 custodial term of one year and one day or a term of credit for time served and all other standards
                                                                  15 terms and conditions.
                                      TH




                                                                  16          Respectfully Submitted,
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                                                                  19 DATED: March 8, 2019                                    /jmj/
                                                                                                                             Julia Mezhinsky Jayne
                                                                  20                                                         Counsel for Carlos Luna Rodriguez
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                                                                  28                                                    18                      Case No. CR 18-00240 CRB
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